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Exhibit A
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List of Short Forms

Marie Adamson
Thresea Allen
Ashley C, Ary
Cindy Ary
Kermit R, Ary
Paula $. Ary
Carolyn Askew
Herbert Barr
Joyce Barr

Harris Barrett
Michele Barrett
Thomas Baxivanos
Bonnie Beckman
Charles Beckman
Charles Brock
Wanda Brock
Jenny Browning
Thomas Browning
Kimberly Burgett
Randall Burgett
Rita A. Callihan
Cynthia Carnley
Michael Carnley
Lamar Chatham
Sylvia Chatham
Arthus Childress
Grady Church
Janis Connor
Paul D’Agnese
George Daniel
Russell. Daniel
Dana K. Davis
Barbara DeBois
Dennis DeBois
DebtX LLC
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Delta Southern Resource, LLC
Mark Dickinson

Diversified Executive Crestwood LLC
Don Bishop 108 LLC

James Edwards

Entrust Administration of the Southeast, Inc., as Custodian of IRA Account 1325
James Ezell

James Ezell, Jr.

Kenneth Flake

John Guidry

Pamela Guidry

Patricia Hackley

Jeff Hagood

Arthur Halvorsen

Jeanne Halvorsen

James Harper

James Hart

Timothy Hightower
Hilsman-Morrison, LLC

James Holland

Sandra Holland

Phillip Hurley

Sheryl Hurley

International Dev Group I LLC
Fred Isreal

John Hilsman Investments, LLC
Dixie Johnson

Tommy Johnson

James Joiner, Jr,

James Joiner, Sr,

Wilma Joiner

Emanuel Jones

Michael F. Koch

James Lane

LaRiva 5E, LLC

Lawson Properties, LP
William Leathers
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Carol Lynn

Karen Lynn

Leon Lynn

M&N LLC

Alton Mathis

Charles Mathis, Jr,

James Mayes

Sarah Mayes

Jamie McConneil

Kelli Ann McConnell

MDP Holdings LLC

Edwin Miller

Tina Marie Miller

Money Coastal Development Corporation
Edward and Carla Moreland
Dariusz Mrozinsla

Jadwiga Mrozinski

Adrianne Naquin

LJ Naquin

Ronald Nelson and Karen Cory
Northern Aviation Unlimited
Steve Norton

John Novak

Marylou Novak

John Omohundro

Peggy Omohundro

Peggy Ann Picard

Pruitt Seafood

Keith Rabren

Costa Regas

Renta Living Trust (and Sam Renta)
Roy H. Swatzell, Jr. 2002 Recovable Trust
Gray and Nancy Sass
Satinwood, LLC

Georgina Smith

Danny Speigner

Deborah Speigner
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Michael Springrose
sally Sprinerose
Barbara Stephens

Jim Stephens

sterling Trust Company
Robert Theus

Angela Trantham
Charles Trantham
Turner Furniture Holding Corp.
Edward Updike
Kimberly Updike

Karen Vernor

Michael Vernor

John Wells

Craig Wiggins

Lisa Wiggins

Randal W. Wilson

Gail Witter

Wayne Witter

Isabelle Yaroch

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